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                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION

 UNITED STATES OF AMERICA,

 v.          CASE NO. 8:12-CR-205-T-17MAP

 ANGEL VILLANUEVA, et al.

                                    /


                                         ORDER


        This cause is before the Court on:

        Dkt. 912      Third Motion in Limine (Jerry W. Green, Jr.)
        Dkt. 937      Response in Opposition

        Defendant Jerry W. Green, Jr. moves in limine to exclude testimonial and
 documentary evidence, and reference in opening statements and closing arguments,
 relating to the designated lyrics of the Pool Party rap video and section of the ATF
 transcript which state:


               Police ass niggers dropping dimes on their families. I had
               them eaten when they’re done. We talking about the cops
               and the judges all of em, (unintelligible) motherfucker; I’m
               feeling like robbing everybody just because, or throw a bomb
               in the courtroom to fuck them up.

 ATF Pool Party Tr. 6, 118-120, 2012.

        Defendant Jerry W. Green, Jr. argues that the information is not relevant,
 pursuant to Fed. R. Ev. 401(b), and is therefore not admissible pursuant to Fed. R. Ev.
 402. Defendant Green further argues that the information should be excluded pursuant
 to Fed. R. Ev. 403, as its probative value is substantially outweighed by a danger of
 unfair prejudice.
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        The Government opposes Defendant Green’s Motion in Limine. The
 Government incorporates its previous response regarding the exclusion of rap lyrics,
 which addressed the same video. (Dkt. 563). The Government argues that the stated
 passage is direct evidence of the racketeering conspiracy charged in Count 1. The
 stated passage exemplifies the climate of intimidation and fear that Defendant Jerry W.
 Green, Jr. created in Bradenton on behalf of the Enterprise. The methods, means, and
 overt acts of the conspiracy charged in Count 1 include tampering with witnesses,
 obstructing justice, threatening others with violence, and the publication of the activities
 of the Enterprise through social media. The referenced video, Bradenton 941 Pool
 Party, and the particular passage that is the subject of this Motion constitute direct proof
 of each of those allegations.


        The Government argues that the particular passage is probative, in light of
 Defendant Jerry W. Green, Jr.’s repeated assaults on the credibility of Government
 witnesses who claimed to be afraid of Defendant Jerry W. Green, Jr. See United
 States v. Belfast. 611 F.3d 783, 820 (11th Cir. 2010)(rap lyrics relevant to show
 association, role and violence).


        The Government further argues that the Bradenton 941 Pool Party Video also
 involves Defendant Jerry W. Green, Jr. repeatedly stating that “this” is “gangster” and
 that it is “real.” The Government further argues that Defendant Jerry W. Green Jr. uses
 the term “real” in the video to describe his conduct and lifestyle and make it known to all
 that his statements express his true intent: the intent to instill fear in the community.
 The video maintains Defendant Jerry W. Green, Jr.’s reputation as a notorious and
 invincible killer, which benefits the Enterprise and deters rivals from retaliating and
 would-be witnesses from coming forward to law enforcement.


        The Government argues that the probative value of the entire Bradenton 941
 Pool Party Video is not substantially outweighed by the danger of unfair prejudice under
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 Fed. R. Ev. 403, and is therefore admissible in its entirety. The defense can argue to
 the jury that the statements of Defendant Jerry W. Green, Jr. in the video are “art,” but
 the trier of fact is entitled to take Defendant Jerry W. Green, Jr. at his word in
 considering the charged conspiracies in Counts 1 and 2, that it is all “real.”


        The Court previously denied motions in limine to exclude rap videos and lyrics
 without prejudice, and stated that the Court would use the following procedure as to
 each item of video evidence:


        1.     By noon on the trial day immediately preceding the trial day
               the Government intends to introduce the video excerpt, the
               Government shall provide the excerpts and the transcript of
               the Enterprise Video it seeks to introduce, and proffer the
               specific bases for the excerpt’s relevance and probative
               value;

        2.     The following morning, the Court will conduct a brief hearing on the
               admission of the evidence;

        3.     If the Court admits the video evidence or portions thereof,
               the Government consents to a limiting jury instruction that
               the evidence is not to be considered for any improper
               purpose (Fed. R. Ev. 105).

 (Dkt. 888).



        The Court understands that Defendant Green has raised all his arguments via
 the Motion, and the Government has included all its arguments in opposition. The
 Court has viewed the subject video and has reviewed the subject transcript.


        Fed. R. Ev. 403 provides:




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          The court may exclude relevant evidence if its probative value is
          substantially outweighed by a danger of one or more of the following:
          unfair prejudice, confusing the issues, misleading the jury, undue delay,
          wasting time, or needlessly presenting cumulative evidence.


          “Unfair prejudice” involves some adverse effect beyond tending to prove the fact
 or issue that justifies the admission of the evidence. Prejudice is unfair when it tends to
 suggest a decision by the fact finder on an improper basis, such as on an emotional
 basis.


          The Court notes that Rule 403 is an “extraordinary remedy” whose “major
 function...is limited to excluding matter of scant or cumulative probative force, dragged
 in by the heels for the sake of its prejudicial effect.” (citation omitted). The Rule
 carries a “strong presumption in favor of admissibility.” See United States v. Grant. 256
 F.2d 1146, 1155 (11th Cir. 2001).


          The Court recognizes that the specified passage has a high probative value and
 also recognizes that there is a potential risk of unfair prejudice. The Government has
 consented to a jury instruction that this evidence should be considered only for its
 proper purpose. Defendant Jerry W. Green, Jr. may request additional prophylactic
 measures as Defendant deems necessary.


          After consideration, the Court finds that the specified evidence is relevant,
 admissible, and the probative value of the evidence does not substantially outweigh
 danger of unfair prejudice. The Court denies Defendant Green’s Third Motion in
 Limine. Accordingly, it is




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         ORDERED that Defendant Green’s Third Motion in Limine (Dkt. 912) is denied.


         DONE and ORDERED in Chambers in Tampa, Florida on this t—^> day of July,
 2016.




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